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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

                                          CLERK'S MINUTES

 CASE NO.          8:23-cr-360-TPB-AAS                   DATE:                March 28, 2024

 HONORABLE THOMAS P. BARBER                              INTERPRETER:          N/A

                                                         LANGUAGE:
 UNITED STATES OF AMERICA
                                                         GOVERNMENT COUNSEL
 v.                                                      Jennifer Peresie, AUSA
                                                         DEFENSE COUNSEL
 LESLIE STEELE BRYANT                                    Nicole Hardin, AFPD
 COURT REPORTER: Rebekah Lockwood                        DEPUTY CLERK:        Sonya Cohn
 TIME:     10:30 - 10:56 a.m.      TOTAL: 26 mins.       PROBATION:           Tyler Thomas
                                                                              Campbell
                                                         COURTROOM:           14A

PROCEEDINGS:            SENTENCING HEARING - resumes (Evidentiary)

Defendant remains under oath. Previously adjudged guilty on Count One of the Information.

Additional statements made by Counsel and Defendant. Court hears from Jason Friedman, Lowe’s
Manager (sworn).

Imprisonment: ONE (1) YEAR and ONE (1) DAY.

Supervised Release: THREE (3) YEARS.

Fine is waived. Special Assessment: $100.00 to be paid immediately.

Restitution: $1,223,580.54 – see judgment for details.

Recommendation to the BOP:
  1. Incarceration at facility near Tampa, Florida, to be close to family.


   Special conditions of supervised release:

   1. The defendant shall participate in a substance abuse program (outpatient and/or inpatient) and
      follow the probation officer’s instructions regarding the implementation of this court directive.
      Further, the defendant shall contribute to the costs of these services not to exceed an amount
      determined reasonable by the Probation Office’s Sliding Scale for Substance Abuse Treatment
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      Services. During and upon completion of this program, the defendant is directed to submit to
      random drug testing.

   2. The defendant shall participate in a mental health treatment program (outpatient and/or inpatient)
      and follow the probation officer’s instructions regarding the implementation of this court directive.
      Further, the defendant shall contribute to the costs of these services not to exceed an amount
      determined reasonable by the Probation Office’s Sliding Scale for Mental Health Treatment
      Services.

   3. The defendant is prohibited from incurring new credit charges, opening additional lines of credit,
      or obligating herself for any major purchases without approval of the probation officer.

   4. The defendant shall provide the probation officer access to any requested financial information. If
      defendant receives any government refunds, those shall be applied toward restitution.

Defendant is to cooperate in the collection of DNA as instructed by the Probation Officer.

The mandatory drug testing requirements of the Violent Crime Control Act are imposed. The
defendant must submit to one drug test within 15 days of placement on supervision and at least two
periodic drug tests thereafter as directed by the Probation Officer. The Defendant must submit to
random drug testing not to exceed 104 tests per year.

Defendant’s oral motion for downward variance is GRANTED to extent addressed in the record.
Government does not oppose a 2-level downward variance.

Defendant is allowed to self-surrender by noon on April 12, 2024, at the institution designated by the
Bureau of Prisons or to the U.S Marshal, Tampa, Florida, if designation not received.

Defendant advised of right to appeal and to counsel on appeal.


           GUIDELINE RANGE DETERMINED BY THE COURT AT SENTENCING
                          (prior to any variances/departures)


              Total Offense Level                      18

              Criminal History Category                I

              Imprisonment Range                       27 - 33 Months

              Supervised Release Range                 1 - 3 years

              Restitution                              $1,223,580.54

              Fine Range                               $10,000 - $100,000

              Special Assessment                       $100.00
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